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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Christopher Mansoori,                            )
                                                 )
                             Plaintiff,          )             22 C 1642
                                                 )
               v.                                )          Judge Lindsay C. Jenkins
                                                 )
Sgt. Amador, et al.,                             )          Magistrate Jeffery T. Gilbert
                                                 )
                         Defendant.              )


               JOINT PROPOSED DISCOVERY DEPOSITION SCHEDULE FOR PLAINTIFF
       The Plaintiff, Christopher Mansoori (“Plaintiff”), Pro Se and Defendants, by their

respective attorneys, KIMBERLY M. FOXX, State’s Attorney of Cook County, through her

respective Assistant State’s Attorneys, Joel Zeid, and Oliver Kassenbrock; Special State’s

Attorney’s, Jason Devore, Troy Radunsky, and Zach Stillman from DEVORE RADUNSKY

LLC; and Special State’s Attorneys, William B. Oberts, and Kevin C. Kirk from Tribler, Orpett,

& Meyer P. C., in compliance with the Court’s order (Dkt. 81) submit the following the

following Joint Proposed Discovery Deposition Schedule for Plaintiff.

   1. On the Courts March 8, 2024, Status hearing held before the Honorable Judge Gilbert,

       Judge Gilbert requested that the parties file an updated joint report on depositions along

       the lines discussed on the record by 4/16/2024.

   2. The parties are exchanging written discovery and will continue to do so.

   3. The Plaintiff has not taken any depositions or issued any notices of deposition at the time

       of this filing.

   4. Previously the Defendants have provided Plaintiff with three deponents and dates for

       their availability.
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   5. Plaintiff was unable to conduct any depositions within those provided dates.

   6. Subsequently the parties met multiple times and agreed on the below-listed deponents

       and proposed deposition dates.

   7. The parties will continue to work on establishing further deposition dates for the

       remaining deponents Plaintiff has requested.


Below in the listed chart are proposed names of witnesses to be deposed in the above
aforementioned set of cases. The parties have stated for the Court the following information to
the best of their knowledge at this time: (1) the names of all fact witnesses Plaintiff intends to
depose (2) the case numbers of the cases in which those depositions will be taken; (3) confirmed
or proposed dates for the depositions; (4) a brief description of any objection, if any, to the
deposition proceeding then being raised by any party or witness; and (5) a brief description of
the intended subject matter to be covered in a deposition.

 DEPONENT –            CASE        PROPOSED               OBJECTIONS               SUBJECT
    FACT            NUMBER(S) DATE(S) FOR                                        MATTER TO
 WITNESSES          IN WHICH DEPOSITION                                          BE COVERED
                   DEPOSTIONS                                                        AT
                     WILL BE                                                     DEPOSTION
                      TAKEN
  Quincy Cole,      22 cv 6173 –     no conflicts          No Objections           21-cv-6173:
   Detainee at       Mansoori v.      upcoming                                       Nonparty
    CCDOC            Morrison       (Plaintiff will                                  witness
  20201209069                     provide a date of                              In adjacent cell,
                    21 cv 6379 – his choosing for                                     heard
                     Mansoori v          this                                       complaints
                    Mellicent Ear    deposition)                                   about cold.
                   (“Ms. Milly”)
                                                                                   21-cv- 6379:
                    22-cv-1642 –                                                   role unclear
                   Mansoori v. Sgt.                                                 based upon
                   Amador, et. al                                                   deposition
                                                                                    transcript.


 Antoine Pierce,                 Plaintiff is              No Objections             Witness.
 20200715063,    22-cv-1642 – unavailable on
  DIV6-2J-9-1 Mansoori v. Sgt. April 30, 2024
                 Amador, et. al due to Court
                                  however
                                Plaintiff will
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                                   provide a date of
                                           his
                                   choosing for this
                                      deposition.
 Nurse Alecia      22-cv-1638 Nurse Hines was          No objections    *Fraud issues
   Hines            Mansoori v.         set to be                      and awareness
                  Sheriff Dart, et    deposed on                         of detainees
                        al.        April 17th but at                   doing drugs on
                                       Plaintiff’s                           tier
                   22-cv-1642 –       request this
                  Mansoori v. Sgt. deposition was
                  Amador, et. Al cancelled and is
                                   now set for May
                    21 cv 6173      22nd at 10am
                    Mansoori v.
                     Director
                    Morrison)


C. O. Abdelhadi    22 - cv - 1642      Set to be       No Objections      Will testify
                    Mansoori v.       deposed at                            regarding
                      Amador           Plaintiff’s                      allegations and
                                    request on May                      claims made in
                                          6th.                             Plaintiff’s
                                                                            Amended
                                                                       Complaint. Will
                                                                           also testify
                                                                         based on his
                                                                          training and
                                                                       experience as a
                                                                             CCDOC
                                                                       Sheriff’s Officer
                                                                        Staff member.
  Sgt. Aaron        22-cv-1635 This deposition         No Objections       Defendant
  Williams        Mansoori v. Sgt. was set for April
                     Williams         30, 2024 at
                                   10am but due to
                    22-cv-1642      a conflict with
                  Mansoori v. Sgt. Plaintiff’s
                   Amador, et al     schedule has
                                    been cancelled
                                     and has been
                                   rescheduled for
                                   May 28 at 10am.
 Sgt. Antiono     22 - cv - 1642 This deposition       No Objections     Defendant in
  Amador                            has been set to                    case. Will testify
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                     Mansoori v.    be conducted by                           regarding
                      Amador        Plaintiff on May                         defenses to
                                    2, 2024, at 2pm.                      allegations and
                                                                          claims made in
                                                                             Plaintiff’s
                                                                              Amended
                                                                         Complaint. Will
                                                                             also testify
                                                                            based on his
                                                                            training and
                                                                          experience as a
                                                                               CCDOC
                                                                         Sheriff’s Officer
                                                                          Staff member.
   Sgt. Milton      21 cv 6379 –  May 8th is the        No Objections.   Witness in 6379:
   Bozeman           Mansoori v      date that                            “And I recently
                    Mellicent Ear  Plaintiff has                          spoke with one
                   (“Ms. Milly”) selected for this                       of the witnesses,
                                  deposition, at                          and he told me
                                      10am.                               he remembers.
                                                                           And he said I
                                                                         have to call him
                                                                          to be a witness
                                                                           to the events,
                                                                                and he
                                                                           remembers it
                                                                                being
                                                                         specifically said
                                                                         that Ms. Pickens
                                                                         got me moved.”

Lt. James Holmes     22 cv 1638      This deposition    No Objections      Defendant in
                    Mansoori v. has been set to                          case. Will testify
                   Sheriff Dart, et. be conducted by                          regarding
                         al.         Plaintiff on May                       defenses to
                                       15, 2024, at                       allegations and
                     21 cv 5881           10am.                           claims made in
                    Mansoori v.                                              Plaintiff’s
                   Ofc. Squires, et.                                          Amended
                         al.                                             Complaint. Will
                                                                             also testify
                   22 - cv - 1642                                           based on his
                    Mansoori v.                                           training, skills,
                      Amador                                              and experience
                                                                           as a CCDOC
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                                                                                  Sheriff’s Officer
                                                                                   Staff member.
Meliicent Ear (aka 21 cv 6379 – This deposition             No Objections           Defendant in
   Ms. Milly)       Mansoori v    has been set to                                       case.
 **1st witness     Mellicent Ear be conducted by
  discussed on     (“Ms Milly”) Plaintiff on May
     2/23/24                       17, 2024, at
                                      10am.




Below in the listed chart the remaining individuals Plaintiff has expressed interest in deposing,
but the parties have not yet been able to schedule. Just as above, the parties have stated for the
Court the following information to the best of their knowledge at this time: (1) the names of all
fact witnesses Plaintiff intends to depose (2) the case numbers of the cases in which those
depositions will be taken; (3) confirmed or proposed dates for the depositions; (4) a brief
description of the intended subject matter to be covered in a deposition; and (5) a brief
description of any objection, if any, to the deposition proceeding then being raised by any party
or witness.

Earlton Murray, 21 cv 6379 – The parties are                No Objections      Harder to
 20220622088;    Mansoori v still working on                               schedule, since
  DIV 15-EM-    Mellicent Ear gathering this                                  he is not in
ELECTRONIC (“Ms. Milly”) information for                                     custody. We
MONITORING-                   this deponent.                              don’t know if he
  GENERAL                                                                    has zoom at
                                                                              home, etc.
 C.O. Kimberly   21 cv 5881       The parties are Objections to deposition Defendant in
    Squires      Mansoori v. still working on        in 21-cv-5881 by        21-cv-5881;
               Ofc. Squires, et. gathering this     Defendant Squires       Witness in 22-
                     al.         information for   Counsel Mr. Oberts.          cv-1642
                                  this deponent.
                22-cv-1642 –                                                Mansoori says
               Mansoori v. Sgt.                                           she is Defendant
               Amador, et. al                                               and witness in
                                                                           Ms. Milly case,
                21-cv-6173                                                 witness in cold
               Mansoori v. Dir.                                                  case.
                  Morrison
                                                                            NOT an active
                                                                           employee as of
                                                                               2/1/2024.
     C.O.       22-cv-1642 – The parties are          No Objections         The parties are
    Alojzy     Mansoori v. Sgt. still working on                           still working on
  Dabrowski    Amador, et. al gathering this                                gathering this
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                                     information for                       information for
                   21 cv 5881         this deponent.                       this deponent.
                  Mansoori v.
                 Ofc. Squires, et.
                       al.

                 2022-CV-1635
                 Mansoori v. Sgt.
                   Williams

C.O. Luis Pena    22-CV-1634      The parties are      No Objections      WITNESS. But
                    Mansoori v. still working on                          NOT an active
                 Jovante Thomas gathering this                            employee as of
                   (J.T. Support information for                           Feb 1, 2024.
                     Services)    this deponent.

                   21-cv-6379
                   Mansoori v.
                   Mellicent Ear
                  (“Ms. Milly”)


                   22-cv1638
                  Mansoori v.
                Sheriff Dart, et
                       al.
Director James     21 cv 6173      The parties are   No Objections       DEFENDANT
   Morrison       Mansoori v. still working on
                    Director        gathering this
                    Morrison      information for
                                   this deponent.
    Fisher?       21 cv 6379 – The parties are     The parties are still  Witness. But
                   Mansoori v still working on working on gathering this not identified in
Female officer? Mellicent Ear gathering this       information for this    deposition.
                 (“Ms Milly”) information for          deponent.
                                   this deponent.
Latoya Pickens    21 cv 6379 – The parties are     The parties are still   Defendant
                   Mansoori v still working on working on gathering this
                 Mellicent Ear gathering this      information for this
                 (“Ms Milly”) information for          deponent.
                                   this deponent.
   Sgt. Ford       21 cv 5881      The parties are    No objections         Witness.
   (female)       Mansoori v. still working on                           *P contends she
                Ofc. Squires, et. gathering this                         supports theory
                       al.        information for                         that CCSO is
                                   this deponent.
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                  22-cv-1635                                                   fabricating
               Mansoori v. Sgt.                                                 evidence
                   Williams
Sheriff Thomas       N/A         The parties are   Objecting. Will not      The parties are
     Dart                       still working on produce for individual still working on
                                  gathering this capacity case under any gathering this
                                information for case number absent court information for
                                 this deponent. order. Request to brief an this deponent.
                                                     such issue first.
 CO Goodson      21 cv 6379 – The parties are         No objections         The parties are
                  Mansoori v still working on                              still working on
                Mellicent Ear gathering this                                 gathering this
                (“Ms Milly”) information for                                information for
                                this deponent.                              this deponent.
 Danita Reese    22-cv-1638      The parties are Confirming employment The parties are
   (medical)   Sheriff Dart, et still working on                           still working on
                      al.         gathering this                             gathering this
                                information for                             information for
                                 this deponent.                            this deponent. .
 Earnest Hall    22-cv-1642      The parties are   Have not confirmed          (Detainee)
  (M55325)     Mansoori v. Sgt. still working on whether this person is in
  Big Muddy     Amador, et al gathering this             custody.
                                information for
                 22-cv-6173     this deponent.
               Mansoori v. Dir.
                   Morrison
 C.O. William  22 - cv - 1642 The parties are       The parties are still    Defendant in
    Mintah       Mansoori v. still working on working on gathering this case. Will testify
                   Amador         gathering this   information for this         regarding
                                information for         deponent.              defenses to
                 21-cv-5881     this deponent.                              allegations and
                 Mansoori v.                                                claims made in
               Ofc. Squires, et                                                 Plaintiff’s
                      al                                                        Amended
                                                                           Complaint. Will
                                                                               also testify
                                                                              based on his
                                                                              training and
                                                                            experience as a
                                                                                 CCDOC
                                                                           Sheriff’s Officer
                                                                            Staff member.
 Erika Queen   22 - cv - 1642 The parties are         No Objections          Defendant in
                 Mansoori v. still working on                              case. Will testify
                   Amador         gathering this                                regarding
                                                                               defenses to
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                 Mansoori v. information for                             allegations and
                Squires 21 Cv this deponent.                             claims made in
                    5881                                                    Plaintiff’s
                                                                             Amended
                                                                        Complaint. Will
                                                                            also testify
                                                                           based on her
                                                                         training, skills,
                                                                         and experience
                                                                          as a CCDOC
                                                                        Sheriff’s Officer
                                                                         Staff member.
  Exec. Dir.    22 - cv - 1642 The parties are    No Objections          The parties are
  Beachem        Mansoori v. still working on                           still working on
                   Amador        gathering this                           gathering this
                               information for                          information for
                               this deponent.                           this deponent.
C. O. Toscano   22 - cv - 1642 The parties are  The parties are still       Will testify
                 Mansoori v. still working on working on gathering this      regarding
                   Amador        gathering this information for this     allegations and
                               information for       deponent.           claims made in
                                this deponent.                              Plaintiff’s
                                                                             Amended
                                                                        Complaint. Will
                                                                            also testify
                                                                           based on his
                                                                           training and
                                                                        experience as a
                                                                              CCDOC
                                                                        Sheriff’s Officer
                                                                         Staff member.
 C.O Vilella    22 - cv - 1642 The parties are  The parties are still       Will testify
                 Mansoori v. still working on working on gathering this      regarding
                   Amador        gathering this information for this     allegations and
                               information for       deponent.           claims made in
                                this deponent.                              Plaintiff’s
                                                                             Amended
                                                                        Complaint. Will
                                                                            also testify
                                                                           based on his
                                                                           training and
                                                                        experience as a
                                                                              CCDOC
                                                                        Sheriff’s Officer
                                                                         Staff member.
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   C.O. Serna      22 - cv - 1642 The parties are    The parties are still     Will testify
                    Mansoori v. still working on working on gathering this       regarding
                      Amador          gathering this information for this    allegations and
                                    information for       deponent.          claims made in
                                     this deponent.                             Plaintiff’s
                                                                                 Amended
                                                                            Complaint. Will
                                                                                also testify
                                                                               based on his
                                                                               training and
                                                                            experience as a
                                                                                  CCDOC
                                                                            Sheriff’s Officer
                                                                             Staff member.
   C.O. Garcia     22 - cv - 1642 The parties are    The parties are still     Will testify
Sanitation officer Mansoori v. still working on working on gathering this        regarding
 division 6 2022      Amador          gathering this information for this    allegations and
                                    information for       deponent.          claims made in
                                     this deponent.                             Plaintiff’s
                                                                                 Amended
                                                                            Complaint. Will
                                                                                also testify
                                                                               based on his
                                                                               training and
                                                                            experience as a
                                                                                  CCDOC
                                                                            Sheriff’s Officer
                                                                             Staff member.
   C.O. Schuld     22 - cv - 1642 The parties are    The parties are still     Will testify
                    Mansoori v. still working on working on gathering this       regarding
                      Amador          gathering this information for this    allegations and
                                    information for       deponent.          claims made in
                                     this deponent.                             Plaintiff’s
                                                                                 Amended
                                                                            Complaint. Will
                                                                                also testify
                                                                               based on his
                                                                               training and
                                                                            experience as a
                                                                                  CCDOC
                                                                            Sheriff’s Officer
                                                                             Staff member.
Lt. Damita Delitz 22 cv 1638        The parties are   The parties are still  The parties are
                    Mansoori v. still working on working on gathering this still working on
                  Sheriff Dart, et. gathering this   information for this     gathering this
                         al.                              deponent.
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                                     information for                       information for
                   21 cv 5881         this deponent.                        this deponent.
                  Mansoori v.
                 Ofc. Squires, et.
                       al.

                  22 - cv - 1642
                   Mansoori v.
                     Amador
       Sgt.       22 - cv - 1642 The parties are    The parties are still   The parties are
Miller(Alexander) Mansoori v. still working on working on gathering this still working on
     Female          Amador         gathering this information for this     gathering this
                                  information for       deponent.         information for
                                   this deponent.                           this deponent.
 C.O. Miskell         Smoke       The parties are   The parties are still     Will testify
                   22-cv-1635 still working on working on gathering this       regarding
                 Mansoori v. Sgt. gathering this   information for this    allegations and
                    Williams      information for       deponent.          claims made in
                                   this deponent.                             Plaintiff’s
                                                                               Amended
                                                                          Complaint. Will
                                                                              also testify
                                                                             based on his
                                                                             training and
                                                                          experience as a
                                                                                CCDOC
                                                                          Sheriff’s Officer
                                                                           Staff member.
OPR- Rodriguez 22 - cv - 1642 The parties are       The parties are still     Will testify
     (male)        Mansoori v. still working on working on gathering this      regarding
                     Amador         gathering this information for this    allegations and
                                  information for       deponent.          claims made in
                                   this deponent.                             Plaintiff’s
                                                                               Amended
                                                                          Complaint. Will
                                                                              also testify
                                                                             based on his
                                                                             training and
                                                                          experience as a
                                                                                CCDOC
                                                                          Sheriff’s Officer
                                                                           Staff member.
 Manisha Patel     22-cv-1632     The parties are   The parties are still  The parties are
                   Mansoori v. still working on working on gathering this still working on
                 Stadnicki, et al gathering this   information for this     gathering this
                                                        deponent.
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                   22-cv-2471    information for                            information for
                   Mansoori v. this deponent.                                this deponent.
                    Stadnicki
 Cendi Morgan The parties are The parties are        The parties are still   The parties are
                still working on still working on working on gathering this still working on
                  gathering this gathering this     information for this      gathering this
                information for information for          deponent.          information for
                 this deponent. this deponent.                               this deponent.
 Kirsten Bain    The parties are The parties are     The parties are still   The parties are
                still working on still working on working on gathering this still working on
                  gathering this gathering this     information for this      gathering this
                information for information for          deponent.          information for
                 this deponent. this deponent.                               this deponent.
Kingson Olikagu The parties are The parties are      The parties are still   The parties are
                still working on still working on working on gathering this still working on
                  gathering this gathering this     information for this      gathering this
                information for information for          deponent.          information for
                 this deponent. this deponent.                               this deponent.
Velinda Llorens The parties are The parties are      The parties are still   The parties are
                still working on still working on working on gathering this still working on
                  gathering this gathering this     information for this      gathering this
                information for information for          deponent.          information for
                 this deponent. this deponent.                               this deponent.
Melanie Watson- Mansoori v. Dr. The parties are      The parties are still   The parties are
 Montgomery Montgomery 22 still working on working on gathering this still working on
                     cv 2470       gathering this   information for this      gathering this
                                 information for         deponent.          information for
                                  this deponent.                             this deponent.
  Christopher      Mansoori v. The parties are       The parties are still   The parties are
   Stadnicki    Stadnicki 22 cv still working on working on gathering this still working on
                       2471        gathering this   information for this      gathering this
                   Mansoori v. information for           deponent.          information for
                Stadnicki 22 cv this deponent.                               this deponent.
                       1632
 Dr. Jonathan – The parties are The parties are      The parties are still   The parties are
 Cardiologist   still working on still working on working on gathering this still working on
                  gathering this gathering this     information for this      gathering this
                information for information for          deponent.          information for
                 this deponent. this deponent.                               this deponent.
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Additional information for the Court:

Plaintiff, Mr. Mansoori, requests that the court enter an order updating his address on the docket
of his cases to reflect the correct booking number as a part of his mailing address at the
CCDOC. His current booking number is 20191007189. The incorrect information is listed on
cases 17-cv-8846, 22-cv-2469, 22-cv-2470, 22-cv-2471, 22-cv-3484, 22-cv-3485. It is important
that his address on the docket reflect the correct booking number in order to make sure that there
are no issues or delays in receiving mail from the court or from the parties.

                                                     Respectfully submitted,

                                                     /s/ Joel Zeid
                                                     Joel Zeid
                                                     Assistant States Attorney
                                                     Civil Rights/Torts Litigation
                                                     500 Richard J. Daley Center
                                                     Chicago, Illinois 60602
                                                     Joel.Zeid@cookcountysao.org

                                                     /s/ Miguel Larios
                                                     Miguel Larios
                                                     Assistant States Attorney
                                                     Conflicts Litigation
                                                     500 Richard J. Daley Center
                                                     Chicago, Illinois 60602
                                                     Miguel.Larios@cookcountysao.org

                                                     /s/ Troy S. Radunsky
                                                     Special State’s Attorney
                                                     DEVORE RADUNSKY LLC
                                                     Jason E. DeVore (ARDC # 6242782)
                                                     Troy S. Radunsky (ARDC # 6269281)
                                                     Zachary G. Stillman (ARDC # 6342749)
                                                     230 W. Monroe Street, Ste. 230
                                                     Chicago, IL 60606
                                                     (312) 300-4479

                                                     /s Kevin C. Kirk
                                                     Special State’s Attorney
                                                     William B. Oberts
                                                     Kevin C. Kirk
                                                     Tribler, Orpett, & Meyer P. C.
                                                     225 W. Washington – Suite 2250
                                                     Chicago, IL 60660
                                                     wboberts@tribler.com
                                                     Kckirk@tribler.com
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                                  CERTIFICATE OF SERVICE
I, Joel Zeid hereby certify that I have caused true and correct copies of Joint Status Report and
foregoing to be served on all Parties pursuant to ECF and in accordance with the rules of
electronic filing of documents a copy was mailed via U.S. Mail on this 16 day of March, 2024.
To:

Christopher James Mansoori
2019-1007189
Cook County Jail - CCJ
2700 S. California Ave.
Chicago, IL 60608
                                             /s/ Joel Zeid
                                             Joel Zeid
